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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                             :   CIVIL ACTION NO. 1:16-CV-1958
                                         :
                   Plaintiff             :   (Chief Judge Conner)
                                         :
            v.                           :
                                         :
THE MILTON HERSEY                        :
SCHOOL, et al.,                          :
                                         :
                   Defendants            :

                                     ORDER

      AND NOW, this 15th day of November, 2018, upon consideration of

Defendants’ Motion (Doc. 118) to Compel Compliance with Subpoena issued to

Nadege Fleurimond, it is hereby ORDERED that said motion is GRANTED. Ms.

Fleurimond shall comply with the Subpoena within ten (10) days of the date of this

Order, which shall be served on her by Federal Express and regular mail at

289 East 95th Street, Apt. #1F, Brooklyn, NY 11212.




                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner, Chief Judge
                                      United States District Court
                                      Middle District of Pennsylvania
